   Case 1:22-cv-00393-MN Document 3 Filed 06/13/22 Page 1 of 1 PageID #: 20




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  SUSAN BOLYEN,

         Plaintiff,

         v.                                       C.A. No.: 22-cv-393-MN

   ZYNGA INC., MARK PINCUS, FRANK
   GIBEAU, REGINA E. DUGAN, WILLIAM
   GORDON, LOUIS J. LAVIGNE JR.,
   CAROL G. MILLS, JANICE M.
   ROBERTS, ELLEN F. SIMINOFF, and
   NOEL WATSON,

         Defendants.


                         NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), Plaintiff Susan Bolyen hereby voluntarily dismisses the above-captioned action

without prejudice.


Dated: June 13, 2022                            Respectfully submitted,

                                                FARNAN LLP

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